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                          UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS


In re PEGASYSTEMS INC. SECURITIES       )   No. 1:22-cv-11220-WGY
LITIGATION                              )
                                        )   MEMORANDUM OF LAW IN SUPPORT
                                            OF LEAD COUNSEL’S MOTION FOR AN
                                            AWARD OF ATTORNEYS’ FEES AND
                                            EXPENSES AND AWARDS TO LEAD
                                            PLAINTIFFS PURSUANT TO 15 U.S.C.
                                            §78u-4(a)(4)




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         Court-appointed Lead Counsel, Robbins Geller Rudman & Dowd LLP (“Robbins Geller”),

respectfully submits this memorandum of law in support of its application for: (i) an award of

attorneys’ fees of 30% of the $35,000,000 Settlement Amount; (ii) an award of $420,336.79 for

litigation expenses incurred in prosecuting this action; and (iii) payment of $2,000 to each of the two

Lead Plaintiffs and an additional $9,947.30 to the Lead Plaintiff Construction Industry Laborers

Pension Fund to reimburse it for the out-of-pocket fees it paid to its regular outside counsel in

connection with work on this matter – all pursuant to the Private Securities Litigation Reform Act of

1995 (“PSLRA”).

I.       PRELIMINARY STATEMENT

         Lead Counsel negotiated this $35,000,000 settlement with Defendants, which will be

distributed to eligible Settlement Class Members after deduction of Court-approved fees and

expenses. This substantial and certain recovery obtained for the Settlement Class was achieved

through the efforts, skill, experience, and effective advocacy of Lead Counsel over the last two-plus

years. As explained in contemporaneously filed submissions,1 the efforts of counsel included:

                   Conducting a comprehensive investigation of the events underlying the claims
                    alleged in the Litigation, including, inter alia, a review of publicly available
                    information regarding the Defendants and the Virginia Action;




1
    Submitted herewith in support of approval of the proposed Settlement are: (i) the Memorandum
of Law in Support of Lead Plaintiffs’ Motion for Final Approval of Class Action Settlement and
Approval of Plan of Allocation (“Final Approval Memorandum”); and (ii) the Declaration of Chad
Johnson in Support of: (1) Lead Plaintiffs’ Motion for Final Approval of Class Action Settlement
and Approval of Plan of Allocation; and (2) Lead Counsel’s Motion for an Award of Attorneys’ Fees
and Expenses and Awards to Lead Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) (“Johnson
Declaration” or “Johnson Decl.”), along with its exhibit thereto. Also submitted herewith are
declarations of Lead Counsel, Robbins Geller, Liaison Counsel, Hutchings Barsamian Mandelcorn,
LLP, and local counsel in Virginia, Phelan Petty, PLC (“Fee Declarations”). Unless otherwise
defined herein, all capitalized terms are defined in the Stipulation of Settlement filed on April 23,
2024 (the “Stipulation”) (ECF 143), or in the Johnson Decl.

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                   Researching the applicable law with respect to Lead Plaintiffs’ claims and
                    Defendants’ anticipated defenses;

                   Drafting the Complaint;

                   Opposing Defendants’ motion to dismiss;

                   Requesting, negotiating for, and reviewing over 1.8 million pages of non-public
                    documents, serving multiple discovery requests, and responding to Defendants’
                    discovery requests;

                   Litigating two motions to compel discovery from Defendants;

                   Briefing Lead Plaintiffs’ class certification motion;

                   Consulting with an expert on class certification and damages issues;

                   Preparing a detailed mediation statement, and participating in a formal arm’s-length
                    mediation process before a highly experienced mediator; and

                   Negotiating and documenting the Settlement.

See generally Johnson Decl.

         Lead Plaintiffs’ Counsel’s efforts to date have been without compensation of any kind for

their successful prosecution of this case, which required them to devote over 13,570 hours of billable

time, and risk more than $420,000 in litigation expenses. The recovery of any fees or expenses has

been wholly contingent upon the result achieved. Thus, in accordance with fees awarded in similar

actions in this Circuit and throughout the country, Lead Counsel seeks a percentage fee of 30% of

the Settlement Fund.         As discussed herein and in the Johnson Declaration, the method of

compensating counsel and the amount requested are justified in light of the substantial time and

labor expended by Lead Counsel; the substantial recovery obtained for the Settlement Class; the

quality of Lead Counsel’s representation; the significant risks presented in the prosecution and

settlement of this securities class action under the PSLRA on a contingent basis; the magnitude and

complexity of the Litigation; and the professional standing of both Lead Counsel and Defendants’

Counsel.
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         Counsel also seek payment of $420,336.79 in expenses incurred in prosecuting the action.

As discussed herein, the expenses requested are reasonable in amount and were necessarily incurred

for the successful litigation of the case. Finally, Lead Plaintiffs seek $2,000 each for their efforts

representing the Settlement Class in the Litigation, and Lead Plaintiff Construction Industry

Laborers Pension Fund seeks an additional $9,947.30 as reimbursement for legal fees it paid to its

regular outside counsel for advice and legal work in connection with this Litigation – all pursuant to

15 U.S.C. §78u-4(a)(4). The requested amounts are reasonable and should be awarded.

         The requested amounts are lower than the amounts that were disclosed in the Court-approved

notices that were provided or made available to the Settlement Class. To date, no Settlement Class

Member has objected to any of these requests.2

II.      HISTORY AND BACKGROUND OF THE LITIGATION

         To avoid repetition, Lead Counsel respectfully refers the Court to the accompanying Johnson

Declaration for a detailed discussion of the factual background and procedural history of the

Litigation, the efforts undertaken by Lead Plaintiffs and Lead Counsel during the course of the

Litigation, the risks of continued litigation, and other factors supporting the fee and expense request.

III.     ARGUMENT

         A.         Lead Counsel Should Receive an Award of Attorneys’ Fees from the
                    Common Fund

         The U.S. Supreme Court and the First Circuit have long recognized that “a litigant or a

lawyer who recovers a common fund for the benefit of persons other than himself or his client is

entitled to a reasonable attorney’s fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444

U.S. 472, 478 (1980); see also In re Thirteen Appeals Arising Out of San Juan Dupont Plaza Hotel


2
    The objection deadline is August 29, 2024. If any timely objections are received, Lead Counsel
will address them in a reply memorandum due no later than September 12, 2024.

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Fire Litig., 56 F.3d 295, 305 (1st Cir. 1995); In re Tyco Int’l, Ltd. Multidistrict Litig., 535 F. Supp.

2d 249, 265 (D.N.H. 2007). Awards of reasonable attorneys’ fees from a “common fund” provide

compensation that “encourages capable plaintiffs’ attorneys to aggressively litigate complex, risky

cases like this one” and spread the costs of the litigation “proportionately among those benefitted by

the suit.” Id.

         The Supreme Court also has emphasized that private securities actions, such as the instant

action, are “an essential supplement to criminal prosecutions and civil enforcement actions” brought

by the U.S. Securities and Exchange Commission (“SEC”). Tellabs, Inc. v. Makor Issues & Rts.,

Ltd., 551 U.S. 308, 313 (2007); accord Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S.

299, 310 (1985) (noting private securities actions “provide ‘a most effective weapon in the

enforcement’ of the securities laws and are ‘a necessary supplement to [SEC] action’”).3

Compensating plaintiffs’ counsel for the risks they take in bringing these actions is essential:

“[s]uch actions could not be sustained if plaintiffs’ counsel were not to receive remuneration from

the settlement fund for their efforts on behalf of the class.” Hicks v. Stanley, 2005 WL 2757792, at

*9 (S.D.N.Y. Oct. 24, 2005). Accordingly, Lead Counsel should be awarded attorneys’ fees from

the Settlement Fund.

         B.         The Court Should Award Attorneys’ Fees Using the Percentage-of-the
                    Fund Method

         The Supreme Court has endorsed the percentage method, stating that “under the ‘common

fund doctrine’ . . . a reasonable fee is based on a percentage of the fund bestowed on the class.”

Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984). The First Circuit also has endorsed this method in

common fund cases, noting that it is the prevailing method and that it “offers significant structural



3
    Internal citations are omitted, and emphasis is added throughout, unless otherwise indicated.

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advantages in common fund cases, including ease of administration, efficiency, and a close

approximation of the marketplace.” Thirteen Appeals, 56 F.3d at 308. “Indeed, there is a ‘clear

consensus among federal and state courts’ that the percentage of fund approach is the more efficient,

better reasoned, and effective method.” Gordan v. Mass. Mut. Life Ins. Co., 2016 WL 11272044, at

*2 (D. Mass. Nov. 3, 2016). The percentage method “appropriately aligns the interests of the class

with the interests of the class counsel[,] . . . is ‘less burdensome to administer than the lodestar

method,’ . . . ‘enhances efficiency’ and does not create a ‘disincentive for the early settlement of

cases.’” Duhaime v. John Hancock Mut. Life Ins. Co., 989 F. Supp. 375, 377 (D. Mass. 1997)

(quoting Thirteen Appeals, 56 F.3d at 307); see also Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396

F.3d 96, 121 (2d Cir. 2005) (noting method “‘directly aligns the interests of the class and its

counsel’”).4 For these reasons, courts assessing fee awards in securities fraud class actions generally

apply the percentage method, with or without consideration of lodestar as a “cross-check.” See, e.g.,

Hill v. State St. Corp., 2015 WL 127728, at *17 (D. Mass. Jan. 8, 2015) (noting that lodestar cross-

check is sometimes used but would not be “particularly helpful or appropriate” to assess fees in that

securities fraud action).

         The requested fee of 30% is both reasonable under the circumstances and well within the

typical range of percentage fees awarded in the First Circuit. See, e.g., Luna v. Carbonite, Inc., No.

1:19-cv-11662-LTS, ECF 193, ¶4, Order Awarding Attorneys’ Fees and Litigation Expenses,

Charges, and Costs and Award to Lead Plaintiff Pursuant to 15 U.S.C. §78u-4(a)(4) (D. Mass. May

15, 2024) (awarding 33-1/3% of $27.5 million settlement, plus expenses, with accrued interest

4
    The PSLRA provides that “[t]otal attorneys’ fees and expenses awarded by the court to counsel
for the plaintiff class shall not exceed a reasonable percentage of the amount of any damages and
prejudgment interest actually paid to the class.” 15 U.S.C. §78u-4(a)(6). Thus, “the PSLRA has
made percentage-of-recovery the standard for determining whether attorneys’ fees are reasonable.”
In re Cendant Corp. Sec. Litig., 404 F.3d 173, 188 n.7 (3d Cir. 2005).

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earned on both amounts); In re GE ERISA Litig., No. 1:17-cv-12123-IT, ECF 385, ¶¶4-5, Order

Awarding Attorneys’ Fees and Expenses and Awards to Plaintiffs (D. Mass. Mar. 8, 2024)

(awarding one-third of $61 million settlement, plus expenses, with accrued interest earned on both

amounts); Dahhan v. Ovascience, Inc., No. 1:17-cv-10511-IT, ECF 210, ¶4, Order Awarding

Attorneys’ Fees and Payment of Litigation Expenses, Charges and Costs (D. Mass. Dec. 20, 2022)

(awarding 33-1/3% of $15 million settlement, plus expenses, with accrued interest earned on both

amounts); Machado v. Endurance Int’l Grp. Holdings, Inc., 2019 WL 4409217, at *1 (D. Mass.

Sept. 13, 2019) (awarding 33-1/3% of $18.65 million settlement, plus expenses).

         C.         Factors Considered by Courts in the First Circuit Confirm that the
                    Requested Fee Is Fair and Reasonable

         While “[t]he First Circuit has not endorsed a specified set of factors to be used in determining

whether a fee request is reasonable,” In re Relafen Antitrust Litig., 231 F.R.D. 52, 79 (D. Mass.

2005), courts in this Circuit consider several factors when considering an award of attorneys’ fees,

including:

         “(1) the size of the fund and the number of persons benefitted; (2) the skill,
         experience, and efficiency of the attorneys involved; (3) the complexity and duration
         of the litigation; (4) the risks of the litigation; (5) the amount of time devoted to the
         case by counsel; (6) awards in similar cases; and (7) public policy considerations, if
         any.”

Hill, 2015 WL 127728, at *17 (quoting In re Puerto Rican Cabotage Antitrust Litig., 815 F. Supp.

2d 448, 458 (D.P.R. 2011)); Medoff v. CVS Caremark Corp., 2016 WL 632238, at *8 (D.R.I. Feb.

17, 2016) (same). Courts also have considered whether lead plaintiffs support the requested fee and

the reaction of the class. See Hill, 2015 WL 127728, at *19-*20; In re TJX Cos. Retail Sec. Breach

Litig., 584 F. Supp. 2d 395, 401 (D. Mass. 2008) (considering “the reaction of the class members to

the settlement and proposed attorneys’ fees” as one of the relevant factors). As set forth below, all



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of these factors weigh strongly in favor of finding that the requested fee award of 30% of the

common fund is reasonable.

                    1.   The Amount of the Recovery and the Number of Settlement
                         Class Members Who Will Benefit From the Settlement
                         Support the Requested Fee

         Courts have consistently recognized that the result achieved is one of the most important

factors to be considered in making a fee award. See Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)

(“[T]he most critical factor is the degree of success obtained.”); see also Puerto Rican Cabotage,

815 F. Supp. 2d at 458 (“[T]he net dollars and cents results achieved by counsel for their clients is

often the most influential factor in assessing the reasonableness of any attorneys’ fee award.”). The

Settlement Fund of $35,000,000 has been obtained through the diligent efforts of Lead Counsel

without the risk of trial and appeals.

         Indeed, one of the distinct advantages of the percentage-of-the-fund method is that it directly

incorporates the value of the recovery obtained into the calculation of the fee. See Duhaime, 989 F.

Supp. at 377 (noting advantage of percentage method is that “it focuses ‘on result, rather than

process, which better approximates the workings of the marketplace’” and “the greater the value

secured for the class, the greater the fee earned by class counsel”). Furthermore, as explained in the

Final Approval Memorandum and Johnson Declaration, the favorable nature of this Settlement is

supported by recent empirical evidence regarding securities class action settlements. In the first half

of 2024, the median settlement value for securities cases was $9 million. The average recovery was

$26 million. Edward Flores and Svetlana Starykh, Recent Trends in Securities Class Action

Litigation: 2024 H1 Update at 15, fig. 13 (NERA Aug. 6, 2024) (attached as Ex. A to the Johnson

Decl.). This Settlement far exceeds those metrics – an excellent recovery in light of Defendants’

countervailing legal arguments. Johnson Decl., ¶¶53-60. Here, the Settlement is all cash, not


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dependent upon the number of claims made, there is no reversion to Defendants, and hundreds – if

not thousands – of Members of the Settlement Class will now receive compensation that was

otherwise uncertain when the case began.

                    2.   The Skill and Experience of Counsel Support the Requested
                         Fee

         The prosecution and management of a complex national securities class action requires

unique legal skills and abilities. As demonstrated by its firm résumé, Robbins Geller has

experienced and skilled practitioners in the securities class action field, and has a long and successful

track record in such cases. Robbins Geller’s willingness and ability to undertake complex and

difficult cases such as this, and commitment to the Litigation, added valuable leverage to the

settlement negotiations. See Hill, 2015 WL 127728, at *17 (noting plaintiffs’ counsel’s “experience

and expertise contributed to the achievement of the Settlement”); Bezdek v. Vibram USA Inc., 79

F. Supp. 3d 324, 350 (D. Mass. 2015) (finding skill of lawyers “nationally known for and greatly

experienced in representing plaintiffs” in class action lawsuits weighed in favor of fee award), aff’d,

809 F.3d 78 (1st Cir. 2015).

         The quality of the work performed by Robbins Geller in attaining the Settlement should also

be evaluated in light of the quality of the opposition. See In re Xcel Energy, Inc., Sec., Derivative &

“ERISA” Litig., 364 F. Supp. 2d 980, 995 (D. Minn. 2005) (“Defendants’ attorneys . . . consistently

put plaintiffs’ counsel through the paces. All counsel consistently demonstrated considerable skill

and cooperation to bring this matter to an amicable conclusion.”). Here, throughout the Litigation,

Defendants have been represented by highly experienced lawyers from WilmerHale, an international

and well-respected law firm known for its vigorous defense in cases such as this.

         Notwithstanding this formidable opposition, Lead Counsel developed a case that was

sufficiently strong to persuade Defendants to settle the action on terms highly favorable to the
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Settlement Class. See Schwartz v. TXU Corp., 2005 WL 3148350, at *30 (N.D. Tex. Nov. 8, 2005)

(“The ability of plaintiffs’ counsel to obtain such a favorable settlement for the Class in the face of

such formidable legal opposition confirms the superior quality of their representation.”).

Accordingly, this factor further supports the requested attorneys’ fees.

                    3.   The Complexity and Duration of the Litigation Support the
                         Requested Fee

         Courts have long recognized that securities class actions are notoriously complex and

difficult to prove, and this case was no exception. See, e.g., Redwen v. Sino Clean Energy, Inc.,

2013 WL 12303367, at *6 (C.D. Cal. July 9, 2013) (“Courts experienced with securities fraud

litigation “‘routinely recognize that securities class actions present hurdles to proving liability that

are difficult for plaintiffs to clear.’””); In re Flag Telecom Holdings, Ltd. Sec. Litig., 2010 WL

4537550, at *15 (S.D.N.Y. Nov. 8, 2010) (recognizing securities class litigation is “‘“notably

difficult and notoriously uncertain”’”); City of Providence v. Aeropostale, Inc., 2014 WL 1883494,

at *16 (S.D.N.Y. May 9, 2014) (“[T]he complex and multifaceted subject matter involved in a

securities class action such as this supports the fee request.”), aff’d sub nom. Arbuthnot v. Pierson,

607 F. App’x 73 (2d Cir. 2015).

         Many complex legal and factual issues were raised in the Litigation. A comprehensive

factual investigation was undertaken by Lead Counsel to draft the Complaint and oppose

Defendants’ motion to dismiss. Johnson Decl., ¶¶19-22. Once the PSLRA-mandated discovery stay

was lifted following the Court’s ruling on the motion to dismiss, Lead Counsel propounded targeted

discovery to Defendants and numerous third parties. Id., ¶¶25, 33, 43-44. The fruits of this

discovery included over 1.8 million pages of documents and Court records from the Virginia Action.

Id., ¶24. Lead Plaintiffs moved for class certification which Defendants vigorously opposed. Id.,

¶¶45-47. The motion was undecided at the time the proposed Settlement was reached. Id., ¶47. The
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parties also retained experts; those experts provided opening and rebuttal reports in connection with

Lead Plaintiffs’ class certification motion. Id., ¶¶45-47. Following lengthy negotiations over the

scope of discovery, Lead Plaintiffs moved to compel certain discovery. Id., ¶¶35-40. In connection

with the mediation, Lead Counsel drafted a mediation statement that set out Lead Plaintiffs’

strongest evidence based on the discovery obtained. Id., ¶49. Defendants likewise made compelling

arguments in connection with their motion to dismiss and in their opposition to class certification, as

well as in their mediation statement, including that they had made no materially false statements, or

material omissions, and had not omitted any information they had a duty to disclose and that Lead

Plaintiffs could not establish scienter, or loss causation. See id., ¶¶22, 46, 49. Defendants argued

that if the Settlement Class suffered any damages, they were significantly lower than Lead Plaintiffs’

estimates. Id., ¶53. These and many other matters required substantial attention by Lead Counsel,

who needed to analyze the factual record and relevant law carefully.

         Accordingly, the magnitude and complexity of this Litigation support the conclusion that the

requested fee is fair and reasonable.

                    4.   The Risk of Non-Payment Was Extremely High in This Case

         In a case undertaken on a contingent fee basis, the risk of the litigation is a key factor in

determining an appropriate fee award. See Roberts v. TJX Cos., 2016 WL 8677312, at *13 (D.

Mass. Sept. 30, 2016) (“[M]ost importantly, Class Counsel took the case on a contingency fee basis,

assuming significant risk in litigating the case.”); Hill, 2015 WL 127728, at *18 (“consider[ing] . . .

contingency risk in awarding attorneys’ fees” when counsel “litigated the Action on a fully

contingent basis and were exposed to the risk that they might obtain no compensation for their

efforts on behalf of the class”). Where, as here, Lead Counsel “undertook this action on a




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contingency basis and faced a significant risk of non-payment, this factor weighs more heavily in

favor of rewarding litigation counsel.” CVS, 2016 WL 632238, at *9.

         As noted throughout the Johnson Declaration, from the outset of this case in 2022, it was

apparent that Lead Counsel faced significant challenges to establishing liability and damages on

behalf of Lead Plaintiffs. Thus, there was a significant risk that the case could be litigated for many

years and still result in no recovery for the Settlement Class and no payment for counsel. Lead

Counsel faced substantial risks and uncertainties in, among other things, proving that Defendants’

alleged misstatements were materially false and misleading and made with scienter, as required by

the federal securities laws. There is also a significant risk that Defendants, through expert evidence,

could successfully challenge loss causation, by establishing that Pegasystems’ stock price decline

was caused by something other than the alleged false and misleading statements. The uncertainty of

the status of the verdict in the Virginia Action at the time the Settlement was reached created the risk

the Company would be forced into bankruptcy. And Lead Plaintiffs’ class certification motion was

pending at the time a settlement was reached. Even if Lead Plaintiffs prevailed on the motion, a

Rule 23(f) petition was a risk, and a motion to decertify could have been filed before trial.

Therefore, in the absence of a settlement, the Settlement Class faced a substantial litigation risk with

no guarantee of a greater, or any recovery. Despite these very real risks, Lead Counsel worked

vigorously to achieve a significant result for the Settlement Class. Under these circumstances, the

requested fee is fully appropriate.

                    5.   The Amount of Time Devoted to the Litigation by Lead
                         Counsel Supports the Requested Fee

         The extensive time and effort expended by Lead Counsel in prosecuting the Litigation and

achieving the Settlement since July 2022 also establish that the requested fee is justified and

reasonable. See Hill, 2015 WL 127728, at *19. The Johnson Declaration details the substantial
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efforts of Lead Plaintiffs’ Counsel in prosecuting Lead Plaintiffs’ claims. While a lodestar cross-

check is not required, see id. at *17, “a lodestar analysis may be performed as a cross-check to

ensure that the percentage award is fair and reasonable.” Gordan, 2016 WL 11272044, at *2.

Courts considering lodestar frequently note that lodestar multiples of 1.0 to 4.0 are generally

considered appropriate. See, e.g., Relafen, 231 F.R.D. at 82 (approving settlement with 2.02 lodestar

multiple). When the lodestar is used as a cross-check, “the focus is not on the ‘necessity and

reasonableness of every hour’ of the lodestar, but on the broader question of whether the fee award

appropriately reflects the degree of time and effort expended by the attorneys.” Tyco, 535 F. Supp.

2d at 270 (quoting Thirteen Appeals, 56 F.3d at 307). In this case, the lodestar method, whether used

directly or as a cross check on the percentage method, strongly demonstrates the reasonableness of

the requested fee.

         Here, Lead Plaintiffs’ Counsel spent over 13,500 hours of attorney and other professional

support staff prosecuting the Litigation. See Fee Declarations.5 Based on counsel’s rates,6 their

collective lodestar is $8,271,830.50.7 A $10.5 million fee therefore represents a slight multiplier of

1.27 to counsel’s lodestar, which is well within the acceptable range. See Ford, 2023 WL 3679031,


5
    In addition to Lead Counsel’s time and expenses, these Declarations detail the time and expenses
of Liaison Counsel and local counsel in Virginia.
6
    This Court recently concluded that the following “national hourly rates” are reasonable in
complex ERISA litigation: “$1,370 for attorneys with at least 25 years of experience; $1,165 for
attorneys with 15-24 years of experience; $840 for attorneys with 5-14 years of experience; $635 for
attorneys with 0-4 years of experience; and $425 for paralegals and Law clerks.” Ford v. Takeda
Pharms, U.S.A., Inc., 2023 WL 3679031, at *2 (D. Mass. Mar. 31, 2023). Lead Counsel’s rates here
are consistent with these accepted hourly rates. See Wyman Decl., Ex. A.
7
    The Supreme Court and courts in this Circuit have approved the use of current hourly rates in
calculating the base lodestar figure as a means of compensating for the delay in receiving payment
and the loss of interest. Mo. v. Jenkins by Agyei, 491 U.S. 274, 283-84 (1989); Cohen v. Brown
Univ., 2001 WL 1609383, at *1 (D.N.H. Dec. 5, 2001); Souss v. Banco Santander S.A., 2011 WL
13350165, at *12 (D.P.R. June 9, 2011).

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at *2 (2.41 multiplier “well within the range of multipliers approved by district courts in the First

Circuit”); Gordon, 2016 WL 11272044, at *3 (in awarding one-third fee, court concluded the 3.66

“multiplier is eminently reasonable and is within a range approved by[] numerous other courts”).

The substantial time and effort devoted to this case was critical in obtaining the favorable result

achieved by the Settlement, and confirms that the fee request here is reasonable.8

                    6.   Awards in Similar Cases Support the Requested Fee

         As discussed above, Lead Counsel’s requested fee of 30% of the Settlement Fund is well

within the range of fee awards in class action cases in this Circuit. See §III.B. Thus, this factor

strongly supports the reasonableness of the requested fee.

                    7.   Public Policy Considerations Support the Requested Fee

         Public policy supports rewarding counsel for prosecuting securities class actions, especially

where, as here, “counsel’s dogged efforts – undertaken on a wholly contingent basis – result in

satisfactory resolution for the class.” CVS, 2016 WL 632238, at *9 (citing Tyco, 535 F. Supp. 2d at

270). As the Supreme Court has emphasized, private securities actions such as this provide “‘a most

effective weapon in the enforcement’ of the securities laws and are ‘a necessary supplement to

[SEC] action.’” Bateman, 472 U.S. at 310.

                    8.   The Endorsement of Lead Plaintiffs and the Reaction of the
                         Settlement Class Support the Requested Fee

         Lead Plaintiffs were appointed pursuant to the relevant provisions of the PSLRA. As set

forth in Lead Plaintiffs’ declarations, Lead Plaintiffs carefully oversaw the prosecution and

resolution of this Litigation, and had a sound basis for assessing the reasonableness of the fee


8
    Moreover, the legal work on this action will not end with the Court’s approval of the proposed
Settlement. Additional hours and resources already have been, and necessarily will continue to be,
expended assisting Members of the Settlement Class with their Proof of Claim and Release forms,
overseeing the claims process, and responding to Settlement Class Member inquiries.

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request. Lead Plaintiffs fully support and approve that request. See Lead Plaintiffs’ Declarations in

Support of Motion for Final Approval of Settlement, Plan of Allocation, Award of Attorneys’ Fees

and Expenses, and Award to Lead Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) (“Lead Plaintiffs’

Decls.”), ¶¶7-8, submitted herewith.

         Furthermore, the reasonableness of the requested fee is supported by the reaction of the

Settlement Class. See, e.g., Hill, 2015 WL 127728, at *19 (“The endorsement of the Lead Plaintiffs

and the favorable reaction of the class both support approval of the requested fees.”). As of August

13, 2024, the Claims Administrator has disseminated a total of 25,670 Postcard Notices. See

accompanying Declaration of Ross D. Murray Regarding Notice Dissemination, Publication, and

Requests for Exclusion Received to Date (“Murray Decl.”), on behalf of the Court-appointed Claims

Administrator for the Settlement, Gilardi & Co. LLC (“Gilardi”), ¶¶5-11. To date, no Settlement

Class Members have objected to any portion of the Settlement or Lead Counsel’s requested fee.9

Only one request for exclusion from the Settlement Class has been received and that was from an

individual who is not a member of the Class, see Murray Decl., ¶16, which lends further support to

the requested fee. See, e.g., Bezdek, 79 F. Supp. 3d at 351 (finding “overwhelmingly positive”

reaction of class to settlement and “quite low number of opt-outs” weighed in favor of requested

fee).

         In sum, Lead Counsel respectfully submits that the 30% fee is reasonable here, and should be

awarded.




9
    Lead Counsel will address any fee-related objections that are received in its reply papers, to be
filed with the Court on September 12, 2024.

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         D.         The Expenses Incurred Are Reasonable and Were Necessary to
                    Achieve the Benefit Obtained

         Lead Counsel’s fee application includes a request for litigation expenses that were reasonable

and necessary to the prosecution of the Litigation. Attorneys who create a common fund for the

benefit of a class are entitled to reasonable litigation expenses from the fund. See, e.g., In re

Fidelity/Micron Sec. Litig., 167 F.3d 735, 737 (1st Cir. 1999) (“[L]aw firms are not eleemosynary

institutions, and lawyers whose efforts succeed in creating a common fund for the benefit of a class

are entitled not only to reasonable fees, but also to recover from the fund, as a general matter,

expenses, reasonable in amount, that were necessary to bring the action to a climax.”); Ford, 2023

WL 3679031, at *3. In the Notice and Postcard Notice, the Settlement Class was advised that Lead

Counsel would ask the Court for an award of litigation expenses not to exceed $450,000, plus

interest.

         Lead Plaintiffs’ Counsel’s expense request of $420,336.79 is reasonable and should be

approved. The Fee Declarations submitted herewith provide itemized schedules of the expenses

incurred by each firm. The expenses listed on those schedules are ones that are necessarily incurred

in litigation and routinely charged to clients billed by the hour by each firm. The amount sought is

less than the $450,000 expense cap identified in the Notice and Postcard Notice.

         Lead Counsel respectfully submits that these expenses were reasonably and necessarily

incurred in prosecuting this action and should be awarded from the Settlement Fund. See, e.g., In re

Glob. Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 468 (S.D.N.Y. 2004) (“The expenses incurred

– which include investigative and expert witnesses, filing fees, service of process, travel, legal

research and document production and review – are the type for which ‘the paying, arms’ length

market’ reimburses attorneys. For this reason, they are properly chargeable to the Settlement

fund.”); see also Anwar v. Fairfield Greenwich Ltd., 2012 WL 1981505, at *3 (S.D.N.Y. June 1,
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2012) (“Here, Plaintiffs’ Counsel seek reimbursement for expenses such as mediation fees, expert

witness fees, electronic legal research, photocopying, postage, and travel expenses, each of which is

the type ‘the paying, arms’ length market’ reimburses attorneys. . . . As such, these expenses shall

be reimbursed.”); Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 454 (E.D. Cal. 2013) (noting

“travel, mediation fees, photocopying, . . . delivery and mail charges” are “routinely reimbursed”).

No Settlement Class Member has objected to these requested expenses.

         E.         The Awards to Lead Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) of
                    the PSLRA Are Reasonable

         The Settlement Class also was advised that Lead Plaintiffs might ask the Court to approve

awards not to exceed $20,000 in the aggregate in connection with their participation in the

Litigation. The PSLRA specifically provides that an “award of reasonable costs and expenses

(including lost wages) directly relating to the representation of the class” may be made “to any

representative party serving on behalf of a class.” 15 U.S.C. §78u-4(a)(4); see also In re Evergreen

Ultra Short Opportunities Fund Sec. Litig., 2012 WL 6184269, at *2 (D. Mass. Dec. 10, 2012)

(reimbursing lead plaintiffs a total of $54,626 when they had “worked closely with counsel

throughout the case, communicated with counsel on a regular basis, reviewed and provided input

with respect to counsel’s submissions, provided information, produced documents, and participated

in settlement discussions”); Ovascience, ECF 210 at ¶9 (awarding $10,000 to lead plaintiff);

Zametkin v. Fidelity Mgmt. & Rsch. Co., No. 1:08-cv-10960-MLW, ECF 115, ¶16 (D. Mass. May

11, 2012) (awarding $14,910 to lead plaintiff); Ahearn v. Credit Suisse First Bos. LLC, No. 03-cv-

10956 (JLT), ECF 82, ¶19 (D. Mass. June 7, 2006) (awarding total of $35,000 to two lead plaintiffs).

The reason behind permitting payment for services of a lead plaintiff was made clear in the

congressional record: “These provisions are intended to increase the likelihood that parties with

significant holdings in issuers, whose interests are more strongly aligned with the class of
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shareholders, will participate in the litigation and exercise control over the selection and actions of

plaintiff’s counsel.” H.R. Conf. Reg. No. 104-369, at 32 (1995), reprinted in 1995 U.S.C.C.A.N.

730, at 731 (1995).

         As set forth in their declarations, Lead Plaintiffs have actively and effectively fulfilled their

obligations as representatives of the Class, complying with the demands placed upon them, and

providing valuable assistance to Lead Counsel. Indeed, Lead Plaintiffs were actively involved in

this case from start to finish. For example, Lead Plaintiffs located and produced documents;

reviewed Defendants’ discovery requests and assisted in providing responses; reviewed filings

provided by counsel; reviewed key orders and hearing transcripts; discussed case strategy with

counsel; discussed settlement status; and were consulted during the mediation process. See Lead

Plaintiffs’ Decls., ¶¶4-5. These actions are precisely the type that support reimbursement to

representative parties under the PSLRA.

         Thus, in recognition of Lead Plaintiffs’ time and effort expended for the benefit of the

Settlement Class, Lead Counsel respectfully requests an award of $2,000 to each of the Lead

Plaintiffs and an additional $9,947.30 to Lead Plaintiff Construction Industry Laborers Pension Fund

to reimburse it for out-of-pocket fees it paid to its regular outside counsel in connection with this

Litigation. These amounts are reasonable and justified under the PSLRA based on each of the Lead

Plaintiff’s extensive involvement in the Litigation. Therefore, Lead Counsel and Lead Plaintiffs

respectfully submit that these awards should be granted.

IV.      CONCLUSION

         For the reasons set forth above, Lead Counsel respectfully requests that the Court enter an

Order awarding it fees in the amount of 30% of the Settlement Amount, plus accrued interest; and




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$420,336.79 in litigation expenses, plus accrued interest.10 Lead Counsel further requests that Lead

Plaintiffs be awarded $13,947.30 in the aggregate in connection with their representation of the

Settlement Class.

DATED: August 15, 2024                   Respectfully submitted,

                                         ROBBINS GELLER RUDMAN
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   A proposed order will be submitted with Lead Counsel’s reply submission on September 12,
2024, after the August 29, 2024 deadline for Settlement Class Members to object has passed.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants on August 15, 2024.

                                                   /s/ Chad Johnson
                                                   CHAD JOHNSON
